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To Judge Neureiter

My name is David E Wilson, I am 42 Years old. I grew up in Foster Care, and I was adopted by my
Foster Parents! I grew up in Montbello, which is a suburb of Denver. I graduated from Montbello
High in 1996, afterwards I attended Community College of Denver on Auraria campus in Denver, to
study Computers. Growing up I really liked to play games on our home Computer, my Mom thought
I should study about them more!! When she told me to get a job, I put in an application at the
Campus Bookstore “Auraria Book Center” I met Andres after I started. I noticed after working there
for a bit Andres was a workaholic in the Stockroom (Shipping/Receiving area). After about a few
weeks, I noticed that Andres Cuetara didn’t conversate much with anybody and was instead of keeping
to himself and always working. The duties of the stockroom was, when a shipment was delivered,
we would have to count how many boxes was delivered and log it. Write the appropriate number on
the boxes that was provided from the log book sheets, and take the Invoice from the shipment into an
office with the log #, an office worker would read and verify what was delivered and enter it in the
computer. Afterwards the office worker would put the order out with the paperwork and some printed
tags, which us “the Stockroom workers” would pull the boxes, take out the books, or supplies, count
the quantity to see if it matched the paperwork, and then we would tag the products. Afterwards we
would put them in a tub. When the tub was full a stockroom employee that was forklift trained would
drive it over to the main Store in another building!! Andres was trained to drive the forklift, and he
would take the tubs over to the other building and possibly bring a tub that was emptied earlier by the
store crew back to be refilled! My Co-workers would when we weren’t working write on a piece of
paper “How are you??” Which we would reply with 2 thumbs up and a smile and go back to work.
When we had a big book shipment come in from one vendor, everybody including Andres would be
helping to unbox, count and tag the books. Sometimes we would get so much of one book we would
stack it high, and Andres was the one most of the time standing on the table and stacking the books up,
so they would be easier to count! I wrote down one day to Andres, when we had a break in between
orders, and deliveries “Teach me some Sign Language!” his eyes widened and he held up his finger
signaling hold on. He brought me over an ASL Dictionary book (American Sign Language) with
drawings on how to do signs along with the words like in a dictionary! I looked in it, tried to do what
the book said of what I wanted to say to Andres! He corrected me on the proper way of signing the
words! After doing this off and on for a couple of months or so I decided to take a Sign Language
coarse at CCD. I really enjoyed the class! I became really good friends with Andres! We like the
same type of Movies, enjoy going out to eat, riding bicycles, doing woodworking things! He even
built me a movie shelving unit, and a entertainment center out of wood by hand and wood stained it!
After I got to know Andres a bit he took me to his house. He was living in a capitol hill studio
Apartment!! Everyone that lived in the building with Andres liked him, he would keep the
community Carpets cleaned and vacuumed!! He is really a Clean guy!! I decided in about early
2000 to move out of my parents house and get a place with Andres! During one Day our other
Roommate Ken who also worked in the Stockroom as the manager, noticed us looking in the “for rent
magazine” he asked us if we were looking for a place to live? I told him “yes we are”. Ken asked
me if we wouldn’t mind if he joined us! I asked Andres, and I told Ken sure! He told us somewhere
out west! I said ok, I know just the place!! I lived with Andres from Early 2000 till late 2008 in a
apartment in Edgewater CO. We bought groceries together, I cooked sometimes for Andres and I ,
Andres cooked sometimes for us. Andres kept the apartment clean, bathroom clean. Kitchen Clean,
dishes washed, Microwave clean. In 2008 I moved out and bought a house, which I sold 2 years later,
and moved in with some family! In about 2003 Andres quit the bookstore, Andres finished his studies
at CCD in Graphic Design and getting a 2 year Associates Degree. Andres got a job at QED Electrical
Supplies in Denver, which he has been employed there since!! Andres is never late to work, is a very
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hard worker, even will go the extra mile and stay for some overtime if needed! Andres’ boss, thinks
very highly of Andres!
Meanwhile Ken about 7 Years ago bought a house in Denver, let Andres move in with him. Then in
June 2019 I moved back in with Andres and Ken. Andres enjoys buying movies off of Apple I tunes,
he has a projector setup which he watches movies on! Andres has also collected a lot of Blu Ray
movies as well! Andres has always perservered even though he is deaf!! He loves talking to his
mom Daily via Facetime on a Iphone!! When I moved out of my parents house I didn’t have much.
He let me watch his tv, watch movies, sit on his couch!! He even provided the dishes, which after
starting out on your own you don’t have much! He helped me move into the apartment as well, he also
drove the moving van that I rented! If it wasn’t for Andres my life would be a lot different. It is
very weird not having him home and talking to me via ASL. Andres works during the week 6am-
2:30pm he goes to work, and comes home. Cleans house, a bit and goes watch movies in his
bedroom! He is never late paying Rent, pays his bills, pays his taxes. We still even during Covid
will order food via door dash, which we take turns buying for the other! When I adopted a cat back in
about 2003, Andres volunteered to feed it, keep his litter box clean. Rio will follow Andres around
the house like a dog! Even Rio misses Andres!! I worked with Andres at the bookstore till early 2001
which I got a new Job at a Safeway in Wheat Ridge. I worked my way up the front end ladder from
Courtesy Clerk, to Deli Clerk, then an APFC “All purpose food clerk” is my UFCW Local 7 Union
Title. I have been working at Safeway 19 and a half Years now!!
I will also be a third party Custodian on behalf of Andres. However my work schedule prevents me
from having a normal 9-5 M-f Schedule!! My Days off float, one week I may have Monday, Friday
off, the next Wednesday, Thursday. Also my work shifts float, I could work one day 6am-2:30pm, and
the next 3:30pm-12am. Sometimes overnights 2am-10:30am working with the pricing crew,
sometimes getting about 2 hours of Overtime!! But I will keep a diligent watch on him and tell his PO
or whoever, if he does some thing hes not supposed to or comes home late. Make sure he knows when
his court dates, and where the court locations are.

Thanks
Dave Wilson
